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United States District Court
District of Massachusetts

Anthony Mazza
Plaintiff,

Civil Action No.
24-10333-NMG

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City of Boston et al.,

Defendants.

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MEMORANDUM & ORDER
GORTON, J.

This case arises from the purported wrongful murder
conviction of plaintiff, Anthony Mazza (“plaintiff” or “Mazza”).
In a previous order, this Court denied plaintiff's motion to
serve defendant, the City of Boston (“the City”), on behalf of
certain deceased police officers and allowed, in part, the
City’s motion to dismiss. Plaintiff now moves for
reconsideration. For the reasons that follow, the motion to
reconsider will be denied.

I. Background

As the Court previously explained, plaintiff’s case began
in 1972 when a man was robbed and murdered in an apartment
belonging to Robert Anderson (“Anderson”). Police arrested
Anderson who then spoke with two Boston Police Department

(“BPD”) detectives and inculpated plaintiff.

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After plaintiff's arrest, BPD detectives interviewed
Anderson’s brother, William, who allegedly told them that
Anderson, not Mazza, was responsible for the murder. According
to plaintiff, neither he nor his counsel ever received the
recording or transcript of that interview. In 1973, plaintiff
was tried, found guilty of murder and sentenced to life in

prison. See Commonwealth v. Mazza, 313 N.E.2d 875 (Mass. 1974).

Two decades later, Mazza learned about the statements
Anderson’s brother had made to the BPD detectives. Based upon
those statements, the SJC granted plaintiff a new trial. See

Commonwealth v. Mazza, 142 N.E.3d 579, 581 (Mass. 2020). The

Commonwealth chose not to re-prosecute and plaintiff succeeded
in having the conviction expunged from his record.

In 2024, plaintiff filed suit in this Court against both
the City and numerous BPD detectives and officers, all of whom
plaintiff avers are now deceased. The City moved to dismiss and
plaintiff subsequently moved to compel the City to accept
service of process on behalf of the deceased police officers.

This Court allowed, in part, the City’s motion to dismiss
plaintiff's claims of direct liability and his civil rights
claim against the City for failure to train its officers,
finding plaintiff had failed to state such claims. In that same
order, the Court denied plaintiff’s motion to serve, finding

that the City’s agreement with police officers did not establish
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a policy of “liability bond” that could compel the City to
accept service of process under M.G.L. c. 190B § 3-803,
applicable here under 42 U.S.C. § 1988. Plaintiff now moves for
this Court to reconsider its order or, alternatively, to report
those issues to the First Circuit Court of Appeals (“the First
Circuit”) for interlocutory appeal.

II. Motion to Reconsider

A. Standard for Reconsideration

Although plaintiff does not clearly identify the basis of
his motion for reconsideration, it is well established that the
two primary standards for reconsideration under Fed. R. Civ. P.
59(e) and 60 are not available where, as here, a court denied or

denied, in part, a motion to dismiss. See Barrows v. Resol. Tr.

Corp., 1994 WL 643309, at *3 (list Cir. 1994) (“Rule 59(e)

applies only to final judgments”); Farr Man & Co. v. M/V

Rozita, 903 F.2d 871, 874 (lst Cir. 1990) (“Rule 60 applies only

to final judgments.”); see also First Med. Health Plan, Inc. v.

Vega-Ramos, 479 F.3d 46, 50 (lst Cir. 2007) (indicating that the

denial of a motion to dismiss is not a final judgment) .

In the absence of a specific rule applicable to non-final
judgments, district courts retain an “inherent power” to
reconsider and amend prior orders “at any time” before the entry

of final judgment. Fernandez-Vargas v. Pfizer, 522 F.3d 55, 61

n.2 (1st Cir. 2008); Pure Distributors, Inc. v. Baker, 285 F.3d

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150, 156 (1st Cir. 2002) (citing Fed. R. Civ. P. 54(b)). The
Supreme Court has cautioned, however, that “courts should be
loathe” to reconsider orders absent “extraordinary
circumstances” and, as such, it is a means of relief that courts

apply only “sparingly.” Christianson v. Colt Indus. Operating

Corp., 486 U.S. 800, 817, (1988) (citation omitted); Palmer v.

Champion Mortg., 465 F.3d 24, 30 (ist Cir. 2006).

To prevail on a motion for reconsideration of a non-final
order, the moving party must demonstrate that one of three
“limited” circumstances applies by 1) presenting the Court with
“newly discovered evidence,” 2) offering an “intervening change
in applicable law” that is controlling or 3) asserting that the
Court’s prior order suffers from “a manifest error of law” or

“was clearly unjust.” United States v. Allen, 573 F.3d 42, 53

(lst Cir. 2009) (citing Marie v. Allied Home Mortg. Corp., 402

F.3d 1, 7 n.2 (lst Cir. 2005)); see Ruiz Rivera v. Pfizer

Pharms., LLC, 521 F.3d 76, 82 (lst Cir. 2008) (indicating
manifest error may occur where a court fundamentally
misunderstood a party’s motion). Mere disagreement with the
reasoning or outcome of a prior order is not an adequate basis
for reconsideration and a motion to reconsider a non-final order
cannot be used simply to “advance arguments that could have

been presented to the district court” previously. Ofori v.
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Ruby Tuesday, Inc., 205 F. App’x 851, 852-53 (lst Cir. 2006);

Iverson v. City of Boston, 452 F.3d 94, 104 (lst Cir. 2006).

B. Reconsideration of Motion to Dismiss

As grounds for reconsideration, plaintiff first submits
that this Court erred in dismissing his failure-to-train claim.
Plaintiff avers that dismissal of that claim is inconsistent

with the First Circuit’s decision in Haley v. City of Boston,

657 F.3d 39, 52 (lst Cir. 2011) and therefore must be reversed.

Mazza does not present new evidence to the Court such as
newly discovered facts that would illustrate a pattern of
discriminatory conduct, nor does he proffer any change in the
controlling law. Instead, his argument rests largely upon a
disagreement with this Court’s prior order dismissing his claim
and its decision to distinguish Haley. Regurgitation of
previously rejected arguments offers no basis for
reconsideration. See Ofori, 205 F. App’x at 852-53; Iverson, 452
F.3d at 104.

Even if plaintiff’s basis for reconsideration were viable,
an order dismissing his claim for failure to train would still
be warranted. To state a claim for an alleged violation of
civil rights against a municipality under 42 U.S.C. § 1983,
known as a Monell claim, a plaintiff must adequately allege that
an “official policy” or practice of the municipality “cause [d]

an employee to violate another’s constitutional rights.” Monell
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v. Dept. of Soc. Servs. of City of N.Y., 436 U.S. 658 (1978);

DiRico v. City of Quincy, 404 F.3d 464, 468-69 (lst Cir. 2005);

Freeman v. Town of Hudson, 714 F.3d 29, 38 (lst Cir. 2013)

(quoting Monell, 436 U.S. at 694). A Monell claim based upon a
purported failure to train municipal employees requires a causal
link between the municipality’s policy and the plaintiff’s
injury and that
Municipal decisionmakers knew or should have known [that
the policy was inadequate but] nonetheless exhibited
deliberate indifference [as to its] unconstitutional

effects.

Bordanaro v. McLeod, 871 F.2d 1151, 1156 (1st Cir. 1989);

Echavarria v. Roach, 565 F. Supp. 3d 51, 91 (D. Mass. 2021)

(quoting Gray v. Cummings, 917 F.3d 1, 14 (lst Cir. 2019)).
To demonstrate deliberate indifference, allegations of
“(i]solated instances of unconstitutional activity,” without

more, are often “insufficient.” Maldonado-Denis v. Castillo-

Rodriguez, 23 F.3d 576, 582 (lst Cir. 1994). Plaintiffs must
instead allege a “pattern of . . . constitutional violations”

Similar to defendant's. Aprileo v. Clapprood, No. 3:21-CV-30114-

MGM, 2024 WL 3430855, at *9 (D. Mass. May 21, 2024) (citing

Connick v. Thompson, 563 U.S. 51, 62 (2011)), report and

recommendation adopted, No. CV 21-30114-MGM, 2024 WL 3665802 (D.

Mass. Aug. 6, 2024); Hill v. Walsh, 884 F.3d 16, 24 (1st Cir.

2018). In Haley, for example, plaintiff claimed that police
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withheld exculpatory statements made by his sister and that the
withholding was pursuant to a standing policy. Haley, 657 F.3d
at 52. Plaintiff's complaint asserted that his injury arose
from the City’s deliberate indifference and specifically
contrasted its policy with the policy of the district attorney's
office to disclose exculpatory evidence as required. Id. (citing

Brady v. Maryland, 373 U.S. 83 (1963)). On those facts, the

First Circuit recognized the Monell claim as plausible. See id.
Here, by contrast, plaintiff does not allege a single other
instance of such a withholding of evidence that would constitute
a Monell violation. Instead, he alleges only the general legal
conclusion that the City failed to train and supervise its
officers. Under similar circumstances, other sessions of this

Court have routinely dismissed failure-to-train claims for want

of a sufficient pattern of conduct. See, e.g., Aaron v. City of

Lowell, No. 20-CV-11604-ADB, 2022 WL 2953033, at *4 (D. Mass.

July 26, 2022); Qualls v. Roache, No. CV 23-10435-GAO, 2024 WL

1333610, at *2 (D. Mass. Mar. 28, 2024). The requirements for
failure-to-train claims are, in short, “exceptionally stringent”
and difficult to prove, and this case is no exception. Hayden v.
Grayson, 134 F.3d 449, 456 {lst Cir. 1998). The Court therefore
declines to reconsider dismissal of plaintiff’s claim for

failure to train.
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C. Reconsideration of Motion to Serve

Mazza also asserts that the Court erred in denying his
motion to compel the City to accept service on behalf of the
deceased officers. He suggests that this Court improperly
interpreted the applicable Collective Bargaining Agreement
(“CBA”), which the City has apparently applied to grant
indemnification in other cases, and wrongly distinguished its
indemnification clause from a “liability bond” that would
require the City to accept service of process.

As before, plaintiff does not suggest that this Court’s
decision was predicated upon a lack of evidence or that there
has been a change in the law. Instead, plaintiff repeats his
arguments about the statutory meaning of “liability bond” and
the proper interpretation of the Collective Bargaining Agreement
(“CBA”), i.e., he disagrees with the decision of this Court.
That is not a viable ground for reconsideration. See Ofori, 205
F. App’x at 852-53; Iverson, 452 F.3d at 104.

Plaintiff£’s implicit contention that the denial of the
motion to serve rested upon a “manifest error of law” is
unavailing. As the Court previously explained, a personal
injury claim brought more than one year after the putative
defendant dies, as is the case here for the deceased officers,
can be brought only if the judgment recovered would “be

satisfied from the proceeds of a policy of liability bond or
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liability insurance.” M.G.L. c. 190B §3-803(a). Plaintiff

again asserts that the language in the CBA regarding

indemnification creates a “liability bond.” In relevant part,
the CBA provides, however, that the City “will . . . indemnify
[the police officers] . .. to the extent permitted by M.G.L. c.
258 §9.” That section provides that municipalities “may”

choose, on a case-by-case basis, whether to “indemnify public
employees.” M.G.L. c. 258 §9. There is no requirement to do so

in all cases. See Williams v. City of Brockton, No. CIV.A. 12-

10430-JGD, 2013 WL 254778, at *8 (D. Mass. Jan. 23, 2013)
(agreeing that contract term relying on §9 left the City with
“discretion to determine whether to indemnify”) .

Although plaintiff rejoins that use of the term “will”
makes indemnification mandatory, and that the term “will
represent” removes the CBA’s term from the purview of the
permissive indemnification applied in Williams, such a reading
would render the phrase “to the extent permitted by M.G.L. c.
258, §9” mere surplusage. If the City had wanted to adopt
Mandatory indemnification, it could have easily done so. As it
is, the CBA imposes discretionary indemnification and any
assertion that the City has exercised that discretion in some
cases does not abrogate the meaning of that contractual term.
The Court declines to reconsider whether the City must accept

service.
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III. Motion for Interlocutory Appeal

Mazza moves, in the alternative, to pursue an interlocutory
appeal to the First Circuit with respect to the issues of
whether the City is required to accept service and whether
plaintiff has properly pled a failure-to-train Monell claim.

Under 28 U.S.C. §1292(b), district courts may permit
interlocutory appeals if the court’s order 1) involved a
“controlling question of law,” 2) there is a “substantial ground
for difference of opinion” as to that question of law and 3) an
immediate appeal will “materially advance” the ultimate outcome

of the litigation. Caraballo-Seda v. Municipality of

Hormigueros, 395 F.3d 7, 9 (1st Cir. 2005). Interlocutory

appeals are “used sparingly,” however, and only in the presence
of “exceptional circumstances,” such as where a case presents
“pivotal” questions of law that are not yet “settled by

controlling authority.” Id.; see Swint v. Chambers Cnty. Comm’n,

514 U.S. 35, 46 (1995).

Here, neither of plaintiff's issues for interlocutory
appeal provides a viable basis for reporting to the First
Circuit. First, although the indemnification issue may be
controlling as to whether the deceased officers can be served,
that issue does not offer “substantial ground for a difference
of opinion” among sessions of this Court. Since this Court’s

decision, which apparently was the first to find that §9

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indemnification is not a liability bond under M.G.L. c. 190B §3-

803, other sessions have followed suit. See, e.g., Lucien v.

Brazil, 1:24-cv-11341-RGS, Docket Nos. 62 and 77 (D. Mass.

2024); Pope v. City of Boston, 1:24-cv-10980-DJC, Docket No. 70

(D. Mass. 2025); see also Weichel v. Town of Braintree, No.

1:20-CV-11456-IT, 2025 WL 863598, at *6 (D. Mass. Mar. 18, 2025)

cf. Rosario v. Waterhouse, No. 1:19-cv-10532-LTS, 2019 WL

17852109, at *1, *4 (finding §13 indemnification is a policy of
“liability bond” under M.G.L. c. 190B §3-803). Moreover, the
proper interpretation of M.G.L. c. 190B §3-803 is a question of
state law and certification of a question of law to the
Massachusetts Supreme Judicial Court, not an interlocutory
appeal to the First Circuit, would have been the ‘appropriate

vehicle,” if any, to reconsider that issue. A.J. Props., LLC v.

Stanley Black & Decker, Inc., No. CV 11-10835-FDS, 2016 WL

335855, at *3 (D. Mass. Jan. 27, 2016) (distinguishing use of
certification and interlocutory appeal).

Second, the dismissal of plaintiff's failure-to-train claim
similarly offers no grounds for interlocutory appeal because
there is no “substantial ground for [a] difference of opinion”
as to whether failure-to-train claims, in the abstract, require
a pattern of conduct. See 28 U.S.C. § § 1292(b). The United

States Supreme Court has made it clear that:
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[A] pattern of similar constitutional violations by
untrained employees is ordinarily necessary to demonstrate
deliberate indifference.

Connick, 563 U.S. at 131.

Mazza alleged no such pattern, nor did he assert that his
case falls within the “narrow range” of Monell claims that are
actionable based solely upon allegations of a single
constitutional violation. Id. Accordingly, plaintiff's request
is, at most, a challenge to this Court’s application of the

facts of his case which does not constitute an exceptional

circumstance warranting interlocutory appeal. See United Air

Lines, Inc. v. Gregory, 716 F. Supp. 2d 79, 91 (D. Mass. 2010)

(rejecting request for interlocutory appeal based upon factual,
rather than purely legal, dispute). Plaintiff's request will
therefore be denied.
ORDER
For the foregoing reasons, the motion of plaintiff, Anthony
Mazza, for reconsideration (Docket No. 28) is DENIED.

So ordered.

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Nathaniel M. Gdrton
United States District Judge

Dated: April a 2025
